                                           IN THE
                                UNITED STATES DISTRICT COURT
                            FOR THE WESTERN DISTRICT OF VIRGINIA
                                     DANVILLE DIVISION

UNITED STATES OF AMERICA,                      )
                                               )
               Plaintiff,                      )
                                               )
v.                                             )      Criminal No. 4:18-CR-00011
                                               )
ASHLEY TIANA ROSS,                             )
                                               )
               Defendant.                      )

OBJECTIONS BY ASHLEY TIANA ROSS TO GOVERNEMENT’S SECOND DEMAND FOR
NOTICE OF ALIBI AND MOTION FOR AN ORDER RELIEVING ANY OBLIGATION TO
                       RESPOND TO SUCH NOTICE

       Defendant Ashley Tiana Ross objects to the Government’s Second Demand for Notice of Alibi

(ECF 527) and moves for entry of an order relieving her of any obligation to respond to said notice, as

follows:

       1.      The United States has filed a Second Demand for Notice of Alibi demanding that Ross

provide a written notice of intent to offer an alibi defense as to the following matters:


       Offense(s) and     Date of Offense                Time of Offense         Location of Offense
         Count(s) of
        Superseding
         Indictment
     RICO (Overt Act B) August 20, 2016               12 noon to 2 pm          124 Forest Lawn Drive,
     Murder of                                        (Time of one of          Danville, Virginia
     Christopher Motley                               alleged planning
     and Attempted                                    meetings for murder)
     Murder of Justion
     Wilson (Count 1)
     RICO (Overt Act B) August 20, 2016               10:00 p.m. to 11:00      Southwyck Hills
     Murder of                                        p.m. (Shooting of        ApartmentsDanville,
     Christopher Motley                               Christopher Motley       Virginia
     and Attempted                                    and at Justion
     Murder of Justion                                Wilson)
     Wilson (Count 1)



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      Accessory After the     August 20-21, 2016       August 20, 2016 at     Southwyck Hills
      Fact (Count 20)                                  10:30 p.m. to August   Apartments, Danville,
                                                       21, 2016 at 12 a.m.    Virginia



         2.      Ross joins in the objections filed by defendant Marcus Jay Davis (ECF 546), and

  in addition states as follows.

         3.      The government’s alibi demand fails to comply with Rule 12.1(a)(1) of the

  Federal Rules of Criminal Procedure. That rule provides that, “[a]n attorney for the government

  may request in writing that the defendant notify an attorney for the government of any intended

  alibi defense. The request must state the time, date, and place of the alleged offense” [emphasis

  added]. In this case the Government’s demand seeks an alibi for a time that is not the time of

  the alleged offenses, “VICAR Murder of Christopher Motley (Count 10); VICAR Attemped

  Murder of Justin Wilson (Count 12).” Instead it seeks an alibi for an “alleged planning meeting

  for murder.” Nothing in Rule 12.1 permits the Government to seek information or discovery

  from Defendant for times or activities that are not an “alleged offense.” Indeed, the discovery

  provided to Defendant thus far indicates that the alleged offenses of murder and attempted

  murder in question occurred at approximately 10:27 p.m. on August 20, 2016 — at least eight

  hours after noon to 2 p.m. on August 20, 2016 — the timeframe set forth in the Government’s

  alibi demand. Moreover, according to discovery produced, the alleged offenses, murder and

  attempted murder, are not alleged to have taken place at the place set forth in the demand, 124

  Forest Lawn Drive, Danville, Virginia.

         4.      “Rule 12.1 was promulgated to avoid the possibility of unfair surprise on the part

  of the Government and cause undue delay in the trial because of an unexpected presentation of

  an alibi defense by the defendant.” United States v. Brickman, 491 F. Supp. 277, 279 (E.D. Pa

  1980) (citing Notes of Committee on the Judiciary House Report No. 94-247). However, the

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  “Rule is not available as a device to be used for purposes of broad discovery or to require a

  defendant to respond to alibi demands for time, place and date that are unnecessarily vague. The

  only fair reading that can be subscribed to the Rule is that it was intended to be reciprocal in the

  sense that, while the defendant must respond to the Government’s demand by stating, ‘the

  specific place or places at which the defendant claims to have been at the time for the alleged

  offense, …. (emphasis supplied), the Government must also initially state with specificity the

  ‘time, date and place at which the alleged offense was committed ….’”

         5.      While in this case the Government has set forth a specific place and two-hour

  window for which it seeks an alibi, because that two-hour window and place are not the time and

  place of the alleged offenses, Rule 12.1 is not available to the Government to require the

  Defendant to reply with an alibi for that time, date and place.

         6.      Significantly, this is not a case where the offenses alleged in the demand occurred

  over a long period of time, “thereby necessitating a lack of specificity as to the time of the

  alleged offense in a demand for notice of an alibi defense.” Id. at 279.    In such cases, such as

  conspiracy, which may be accomplished over a long period of time, the prosecutor may “seek

  notice-of-alibi with respect to a discrete temporal aspect of the crime charged.” United States v.

  Vela, 673 F.2d 86, 88-89 (5th Cir. 1982); Brickman, 491 F. Supp at 279. Such is not the case

  here. While the Defendant is charged in a RICO conspiracy, that charge is not one of the alleged

  offenses contained in the alibi demand. Those offenses, murder and attempted murder, have

  discreet times, dates, and places, that are not consistent with the alibi demand filed by the

  Government.

         7.      The Supreme Court has addressed the implications of notice-of-alibi rules on a

  defendant’s Fifth and Sixth Amendments rights of due process and against self-incrimination.



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  Williams v. Florida, 399 U.S. 78 (1970). In Williams, the Court held that Florida’s notice-of-

  alibi rule, which is substantively similar to Rule 12.1, did not violate these constitutional rights.

  However, if the Government is permitted to seek alibi-like discovery from the Defendant for

  alleged activity that is not actually an alibi for the alleged offense, then such demand would

  violate the accused’s right not to be “compelled in any criminal case to be a witness against

  himself.”

         8.      The same is true with respect to the second and third time periods set forth in the

  demand for alibi. The United States seeks discovery with respect to Ross’ whereabouts from

  “10:00 p.m. to 11:00 p.m.” on August 20, 2016, and on “August, 20-21, 2016 [from] 10:30 p.m.

  to August 21, 2016 at 12 a.m.” (Note that the time referenced in paragraph 3, above, includes

  the same one-half hour referenced in paragraph 2, above, that is, 10:30 p.m. to 11:00 p.m. on

  August 20, 2016. So, collectively, the second and third paragraphs seek discovery of Ross’

  whereabouts from 10:00 p.m. on August 20, 2016 to midnight on August 21, 2016).

         9.      With respect to the second request, the indictment makes no reference to a

  specific time (see ECF 207, at 7-8, ¶ 12(b)), though through discovery, and generally throughout

  these proceedings, as stated the United States has claimed that the murder and attempted murder

  took place at approximately 10:27 p.m. on August 20, 2016.

         10.     And though the third request references Count 20 of the superseding indictment

  (charging accessory after the fact), that count does not allege that the offense took place at any

  particular date, time or place. 1 Thus, it is readily apparent that the requests are not properly



  1
    Count 20 charges that “[o]n or about August 20, 2016, in the Western District of Virginia,
  ASHLEY TIANA ROSS knowing that an offense against the United States has [sic] been
  committed, to wit, murder, attempted murder, and assault with a dangerous weapon in aid of
  racketeering … did receive, relieve, comfort, and assist one or more members of the Rollin 60s
  gang, in order to hinder and prevent the offenders [sic] apprehension, trial, and punishment by
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  tethered to the indictment as required by Fed. R. Crim. P. 12.1, and are in reality improper

  requests for discovery and therefore contravene the Fifth and Sixth Amendments.

         WHEREFORE, Ashley Tiana Ross asks the Court to sustain her objections and order that

  she is not required to respond to the notice.

                                                      Respectfully submitted,

                                                      ASHLEY TIANA ROSS

                                                      By      /s/Terry N. Grimes
                                                             Of Counsel

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                                   CERTIFICATE OF SERVICE

         I hereby certify that the foregoing document was electronically filed with the Clerk of the

  Court using the CM/ECF system, and that a true and accurate copy of the foregoing was sent via the

  CM/ECF system to all counsel of record, on the 9th day of July, 2019.

                                                              /s/ Terry N. Grimes
                                                                  Terry N. Grimes




  disposing of evidence related to the charged offenses, to wit, disposing of shell casings and
  cleaning part of the crime scene in order to help avoid detection from law enforcement” (ECF
  207, at 19, ¶ 61).
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